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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEILA R. TAYLOR,

        Plaintiff,                                  Case No. 1:08 CV 05588

v.                                                  Judge Lefkow
                                                    Magistrate Judge Keys
ARON FEINBERG, SUE FEINBERG,
MICHAEL FEINBERG, MARCY
FEINBERG, MICHELE TRULL and
ETHAN TRULL,

        Defendants.

      MICHELE AND ETHAN TRULL’S MEMORANDUM IN SUPPORT OF THEIR
     MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE
                                 12(b)(6)

        Defendants, Michele F. Trull and Ethan E. Trull, by counsel, submit the following

Memorandum in Support of Their Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure:

                                      INTRODUCTION

        In the Amended Complaint, Leila Taylor (“Leila”) alleges that sometime prior to October

1, 2003, Michael Feinberg (“Michael”) misappropriated funds from bank accounts that were held

jointly among Erla Feinberg, Leila Taylor and Michael Feinberg. (Complaint at ¶ 12; a true and

correct copy of the Amended Complaint is attached to the Trull’s Motion to Dismiss Pursuant to

Federal Rule of Civil Procedure 12(b)(6) as Exhibit A). Leila further alleges that Michael’s

misappropriation included improper cash and other asset withdrawals and use of funds from the

joint accounts to pay personal expenses. (Complaint at ¶ 14).
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         Leila does not allege that Michele or Ethan Trull (her husband) misappropriated any

money. The facts alleged against Michele and Ethan Trull (the “Trulls”) can be found in

Paragraphs 16 through 23 of her Complaint, where Leila claims a conspiracy existed among

Michael Feinberg, the Trulls and the other defendants. (Complaint at ¶¶ 16 – 23). According to

Leila, the defendants’ alleged conspiracy began after October 1, 2003, and “culminated in the

filing of a lawsuit by Michele and Aron [Michele’s brother] against Leila Taylor and Marshall

Taylor (Leila’s husband, together the “Taylors”) on June 25, 2004 in the Circuit Court of Cook

County (the “Cook County Lawsuit”). (Complaint at ¶ 17).


         Of course, there is nothing unlawful about Michele and her brother filing a lawsuit in the

Cook County Circuit Court against the Taylors.1 In fact, the basis for this lawsuit against the

Trulls is not because Michele sued the Taylors. Instead, the purported basis for this lawsuit, at

least as it pertains to the Trulls, is that Michele did not also name her father, Michael Feinberg,

as a defendant in the Cook County Lawsuit. According to Leila’s Amended Complaint, by suing

the Taylors but not suing her father, Michele somehow concealed and diverted attention from

Michael Feinberg’s misappropriation. (Complaint at ¶ 16).


         The dispute underlying the Amended Complaint is nothing new. This dispute has been

pending in the Circuit Court of Cook County for approximately four years, and actually consists

of three matters that have been consolidated. The first case to be filed was the probate estate of

Erla M. Feinberg, who passed away on October 1, 2003 at the age of ninety (Estate of Erla




1
 Although Michele’s brother was initially a plaintiff in the Cook County Lawsuit, it is unclear at this time whether
he has voluntarily dismissed his claims.
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Feinberg, Circuit Court of Cook County, Probate Division, Case No. 04 P 5093).2 Sometime

after Erla’s death, in early 2004, Michele Trull and her husband Ethan Trull learned that the

Taylors had misappropriated roughly two million dollars ($2,000,000) from Erla Feinberg and

Erla’s estate. This discovery prompted Michele, in June 2004, to file a lawsuit in the Law

Division of the Circuit Court of Cook County against the Taylors seeking recovery of stolen

money and real property (Trull, et. al. v. Taylor, et. al., Circuit Court of Cook County, Law

Division, Case No. 04 L 007195). There is no question that at the time Michele filed the Law

Division suit against the Taylors, both she and her husband Ethan Trull were aware that

Michele’s father Michael Feinberg also had stolen money from Erla Feinberg and her estate – as

much as about $260,000 or more. Nevertheless, not surprisingly, at that time Michele chose not

to sue her father and instead brought her claims only against the Taylors.


         While her lawsuit against the Taylors was pending and discovery was ongoing, Michele

learned that her father’s wrongdoing was much more extensive than she had previously thought.

Accordingly in September 2005, Michele sought leave to amend her complaint to include her

father Michael Feinberg.            Michele’s amended complaint alleges that Michael Feinberg

independently misappropriated more than one million dollars ($1,000,000).


         Michele also alleges that Michael Feinberg conspired with the Taylors to evade Federal

Estate Taxes and to deprive Michele of her interest in the Feinberg Estates (which Michael

admitted in his sworn answer to Michele’s Second Amended Complaint). In her complaint and

subsequent pleadings, Michele claims that the Taylors and Michael Feinberg jointly and


2
  Indeed, for years Leila Taylor maintained a counterclaim in the Estate of Erla Feinberg against Michael Feinberg
for the same misappropriations that she alleges here. Leila recently voluntarily dismissed those claims, on the eve of
trial, and re-filed in Federal Court.
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severally stole more than three million dollars ($3,000,000). Michele also alleges facts showing

that Marshall Taylor committed multiple criminal violations of the Illinois Consumer Fraud Act

(by drafting documents modifying Erla Feinberg’s estate plan), that Michael Feinberg committed

mail and wire fraud (by negotiating checks and stock certificates that were issued to his dead

father Max Feinberg decades after Max died), and that all of the Taylors and Michael Feinberg

engaged in financial exploitation of the elderly against Erla Feinberg, as that crime is defined in

the Illinois statutes.


        Also, during the course of proceedings in the lawsuits, it became apparent that the

Taylors and Michael Feinberg were aware of and had been hoarding assets belonging to Max

Feinberg, who had passed away much earlier on December 4, 1986. The probate estate of Max

Feinberg was opened in 2005 to properly administer those assets (Estate of Max Feinberg,

Circuit Court of Cook County, Probate Division, Case No. 05 P 0173). The three cases have

been consolidated before Judge Coleman of the Circuit Court of Cook County, Probate Division

(collectively, the “State Court Actions”).


        Now, in this lawsuit, Leila Taylor alleges that the Trulls conspired with Michael Feinberg

– not to misappropriate any money – but to conceal Michael’s misappropriation that had already

taken place and to divert attention from him. Leila claims that sometime after Erla’s death on

October 1, 2003, Michele and Ethan Trull conspired with Michael Feinberg (and the other

defendants) to “both conceal and divert attention from Michael’s Misappropriation and breaches

of fiduciary duty by instead targeting Leila and her husband Marshall Taylor (“Marshall”) as to

alleged misappropriation by Marshall and Leila (collectively the “Taylor’s” [sic]).” (Amended

Complaint at ¶ 16).      In simpler terms, Leila is complaining that when Michele first filed her

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lawsuit, she sued only the Taylors and did not sue her father Michael Feinberg. Even though

about a year later, Michele amended her complaint to add Michael as a defendant, Leila Taylor

alleges that she was damaged because Michele did not include Michael in the initial lawsuit.


           Leila does not allege any reason why Michele owed a duty to “disclose” Michael’s

misappropriations to Leila. Nor does Leila allege any reason why Michele owed a duty to her to

“focus” Leila’s attention on Michael. Indeed, Leila does not allege that Michele owed her any

duty whatsoever or any other plausible reason why Michele was legally obligated to sue her

father.


                                                    ARGUMENT


           There was nothing unlawful about Michele suing the Taylors in the State Court Actions.

Indeed, the Taylors have repeatedly unsuccessfully sought to have Michele’s complaint

dismissed. So the only questions here are whether Michele committed a tort against Leila Taylor

by not initially suing Michael Feinberg3 or whether the Trulls committed a tort by not

affirmatively disclosing Michael’s wrongdoing to Leila. Of course, in order for Michele’s

decision to not (initially) sue Michael Feinberg to be a tort, Leila would first have to establish

that Michele owed a duty to Leila to sue Michael. Likewise, in order for the Trulls’ alleged

decision not to disclose Michael Feinberg’s misappropriations to be a tort, the Taylors must first

allege facts showing that Michele and Ethan owed Leila a duty to disclose Michael’s actions to

her. No such facts have been alleged and the Trulls did not owe any such duties to Leila.


           In paragraphs 20 through 23 of her complaint, Leila Taylor tries to paint as lurid a picture

as possible about the events leading up to the “culmination” of the alleged conspiracy, namely
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    Ethan Trull is not a party to the State Court Actions and does not have standing to sue Michael for anything.
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the filing of a complaint by Michele. (Complaint at ¶¶ 20-23). Because the “culminating” event

– the filing of a lawsuit – is not itself a tortious act, the details of the Trulls’ activities leading up

to that point are irrelevant. Even if they were relevant, assuming for the sake of this motion that

they are all true, they still do not state any legally cognizable cause of action because none of the

alleged acts are themselves inherently unlawful. Essentially, the alleged “conspiracy” consisted

of the following:


        The defendants met to discuss possible causes of action against the Taylors;


        The defendants discussed how to best deal with the counterclaims that they could expect

        to be presented against Michael by the Taylors;


        The defendants strategized about how to recover the most money for the Feinberg Estates

        (and themselves) while exposing Michael Feinberg to as little liability as possible;


        The defendants agreed that the best way to recover money for the estates while

        minimizing Michael’s exposure would be for Michele and Aron to file a lawsuit;


        Ethan Trull procured legal services for Michele, Aron and Michael Feinberg, and was

        able to obtain some of those services for free;


        Michele (at least initially) and Aron elected not to pursue Michael Feinberg’s

        misappropriations.


Of course, all of this adds up to exactly nothing, because none of these are “unlawful acts.” As a

plaintiff, Michele was free to sue or not sue any viable defendant. Michele’s choice as to who to

pursue could have been based upon the ability of a particular defendant to pay a judgment. Or

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Michele could have chosen who to sue based upon the proof at hand and her assessment of who

would be easiest to take to judgment. Or Michele could have chosen simply based upon which

defendant she felt more closely aligned. Or on a whim. Or, as in this case, Michele could

simply choose not to sue her father. That is not a tort.


       I.      THE TRULLS DID NOT OWE LEILA TAYLOR ANY DUTY TO

               DISCLOSE


       Civil conspiracy has been defined by the Illinois Supreme Court as “a combination of two

or more persons for the purpose of accomplishing by concerted action either an unlawful purpose

or a lawful purpose by unlawful means.” McClure v. Owens Corning Fiberglass Corporation,

188 Il.2d 102, 720 N.E.2d 242, 258 (1999). In this case, Leila can’t possibly be complaining

about the defendants accomplishing a lawful purpose by unlawful means, because the means

consisted of Michele filing a lawsuit – an undeniably lawful act. Likewise, there’s nothing

inherently unlawful about the Trulls’ alleged actions leading up to Michele filing her complaint.

For example, it was not illegal for Michele to meet with her father and discuss strategy. It was

not illegal for Michele to decide, for a while, to not pursue Michael Feinberg’s wrong doing. It

was not illegal for Ethan Trull to procure free legal services for the defendants. Because Leila

does not allege any inherently illegal acts by the Trulls, she must be complaining that the

defendants conspired to accomplish an unlawful purpose.


       According to Leila, that unlawful purpose was to “conceal and divert attention” from

Michael Feinberg’s misappropriations and breaches of fiduciary duty to Leila. (Complaint at ¶

16). But even accepting for the purpose of this Motion that it is true that the Trulls did conceal



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or distract Leila Taylor’s attention from Michael, those actions would be unlawful only if the

Trulls owed Leila a duty to disclose. They did not.


       Illinois law is well settled that “in order to prove fraud by the intentional concealment of

a material fact [here, the concealment of Michael Feinberg’s wrong doing], it is necessary to

show the existence of a special or fiduciary relationship which would raise a duty to speak.”

Illinois Non-Profit Risk Management Association v. Human service Center of Southern Metro-

East, 378 Ill. App. 3d 713, 884 N.E.2d 700, 710 (4th Dist. 2008); Lewis v. Lead Industries

Association, Inc., 342 Ill. App. 3d 95, 793 N.E.2d 869, 876 (1st Dist. 2003); Magna Bank of

Madison County v. Jameson, 237 Ill. App. 3d 614, 604 N.E.2d 541 (5th Dist. 1992). In this case,

Leila Taylor does not allege any relationship whatsoever between herself and the Trulls that

would raise a duty to speak. Without any special or fiduciary relationship, which does not exist

here, the Trulls did not owe any duty to Leila and it was not unlawful (assuming arguendo that it

is true) for them to remain silent concerning Michael Feinberg’s misappropriation.


       Without alleging any specific facts, Leila Taylor also claims that the Trulls “enabled”

Michael Feinberg’s misappropriation.       (Complaint at ¶ 41).      This naked allegation is not

sufficient to sustain any cause of action against the Trulls. It is also, frankly, impossible because

according to Leila’s Complaint, all of Michael Feinberg’s alleged misappropriations took place

before October 1, 2003, and the defendants’ alleged conspiracy began sometime thereafter.

(Complaint at ¶¶ 11-12, 16). It simply does not make any sense for Leila to allege that the Trulls

“enabled” something that had already complete.


       It is also unavailing to Leila that she casts some of her claims under the heading “Unjust

Enrichment.” (Complaint at ¶¶ 45 – 47). The term unjust enrichment is not descriptive of
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conduct which, standing alone, will justify an action for recovery. Lewis, 793 N.E.2d at 877. “In

order for a cause of action for unjust enrichment to exist, there must be some independent basis

which establishes a duty on the part of the defendant to act and the defendant must have failed to

abide by that duty.” Lewis, 793 N.E.2d at 877. In this case, Leila Taylor has not alleged any

basis whatsoever for a duty on the part of the Trulls to act for her benefit.


                                                     CONCLUSION


         Even accepting every allegation in the Amended Complaint as true, Leila still does not

state any cause of action against the Trulls. None of the alleged actions by the Trulls leading up

to Michele filing her lawsuit against the Taylors was inherently unlawful and Michele did not

commit any tort by suing Leila Taylor. The Trulls did not commit any tort by remaining silent

about Michael’s wrong doing because they did not owe Leila any duty to disclose.4                                The

Amended Complaint against the Trulls does not state any legally cognizable cause of action

against the Trulls and must be dismissed pursuant to federal Rule of Civil Procedure 12(b)(6).


                                             Respectfully submitted,
                                             Michele and Ethan Trull


                                             /s/ Robin Drey Maher
                                             One of their attorneys

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 In fact, at the time, the Trulls were anything but silent about Michael’s wrong-doing. But for the purpose of this
Motion, we assume as Leila alleges that they disclosed nothing.
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